                 EXHIBIT F




Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 1 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 2 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 3 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 4 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 5 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 6 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 7 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 8 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 9 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 10 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 11 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 12 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 13 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 14 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 15 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 16 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 17 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 18 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 19 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 20 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 21 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 22 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 23 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 24 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 25 of 26
Case 1:20-cv-00066-WGY Document 243-7 Filed 06/01/23 Page 26 of 26
